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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Ollie McKee,                                )
                                            )
         Plaintiff,                         )
                                            )
         v.                                 )     No.   10 C 6206
                                            )
Leading Edge Recovery Solutions, LLC, )
an Illinois limited liability company, LVNV )
Funding, LLC, a Delaware limited liability )
company and Financial Recovery              )
Services, Inc., a Minnesota corporation, )
                                            )
         Defendants.                        )     Jury Demanded

                                        COMPLAINT

        Plaintiff, Ollie McKee, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendants’ debt collection

actions violated the FDCPA, and to recover damages for Defendants’ violations of the

FDCPA, and alleges:

                               JURISDICTION AND VENUE

        1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

        2.     Venue is proper in this District because: a) parts of the acts and

transactions occurred here; b) one Defendant is headquartered here; and, c) all

Defendants reside and transact business here.

                                          PARTIES

        3.     Plaintiff, Ollie McKee ("McKee"), is a citizen of the State of Michigan, from

whom Defendants attempted to collect a delinquent consumer debt owed for a Citibank
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credit card, which was then allegedly owed to a bad debt buyer, LVNV Funding, LLC.

These collection actions took place despite the fact that she had told the Defendants

that she refused to pay the debt and was represented by the legal aid attorneys at the

Chicago Legal Clinic's Legal Advocates for Seniors and People with Disabilities

program ("LASPD"), located in Chicago, Illinois.

       4.     Defendant, Leading Edge Recovery Solutions, LLC (“LERS”), is an Illinois

limited liability company that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, directly or indirectly, delinquent consumer debts. From its headquarters in

Chicago, Illinois, LERS operates a nationwide delinquent debt collection business and

attempts to collect debts from consumers in virtually every state, including consumers in

the State of Illinois. In fact, Defendant LERS was acting as a debt collector as to the

delinquent consumer debt it attempted to collect from Plaintiff.

       5.     Defendant, LVNV Funding, LLC (“LVNV”), is a Delaware limited liability

company that acts as a debt collector, as defined by § 1692a of the FDCPA, because it

regularly uses the mails and/or the telephone to collect, or attempt to collect, directly or

indirectly, delinquent consumer debts. In fact, Defendant LVNV was acting as a debt

collector as to the delinquent consumer debt it attempted to collect from Plaintiff.

       6.     Defendant LVNV is a bad debt buyer that buys large portfolios of defaulted

consumer debts for pennies on the dollar, which it then collects upon, at times through

other collection agencies, such as Defendants LERS and Financial Recovery Services.

       7.     Defendant, Financial Recovery Services, Inc. (“FRS”), is a Minnesota

corporation that acts as a debt collector, as defined by § 1692a of the FDCPA, because



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it regularly uses the mails and/or the telephone to collect, or attempt to collect, directly

or indirectly, delinquent consumer debts. In fact, Defendant FRS was acting as a debt

collector as to the delinquent consumer debt it attempted to collect from Plaintiff.

       8.     All of the Defendants are licensed to conduct business in the State of

Illinois and maintain registered agents within the State of Illinois, see, records from the

Illinois Secretary of State, attached as Group Exhibit A. In fact, Defendants conduct

business in Illinois by collecting delinquent consumer debts from hundreds of Illinois

consumers.

       9.     All of the Defendants are licensed as debt collection agencies in the State

of Illinois, see, records from the Illinois Division of Professional Regulation, attached as

Group Exhibit B. In fact, Defendants act as debt collectors in Illinois.

                                FACTUAL ALLEGATIONS

       10.    Ms. McKee is a disabled woman, with limited assets and income, who

fell behind on paying her bills, including a debt she owed for a Citibank credit card. At

some point in time after that debt became delinquent, Defendant LVNV bought Ms.

McKee’s Citibank debt.

       11.    Defendant LVNV began trying to collect this debt from Ms. McKee, by

having Defendant LERS send her an initial collection letter, dated June 1, 2010, which

identified Citibank as the "Original Creditor", but which also identified LVNV Funding as

the "Creditor". The letter failed to explain what, if any, the difference was between the

two or what, if any, the relationship was between Citibank and LVNV Funding – a

servicer, a new name for Citibank or the current creditor. A copy of this collection letter

is attached as Exhibit C.



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       12.    Accordingly, Ms. McKee sought the assistance of the legal aid attorneys at

the Chicago Legal Clinic’s LASPD program, regarding her financial difficulties and

Defendants’ collection actions. On July 28, 2010, one of Ms. McKee's attorneys at

LASPD informed Defendants LVNV, in writing, through its agent, LERS, that Ms. McKee

was represented by counsel, and directed Defendants to cease contacting her, and to

cease all further collection activities because Ms. McKee was forced, by her financial

circumstances, to refuse to pay her unsecured debt. Copies of this letter and fax

confirmation are attached as Exhibit D.

       13.    Nonetheless, despite being advised that Ms. McKee was represented by

counsel and refused to pay the debt, Defendant LVNV had Defendant FRS send Ms.

McKee a collection letter, dated August 2, 2010, which demanded payment of the

Citibank debt. A copy of this letter is attached as Exhibit E.

       14.    Accordingly, on September 9, 2010, Ms. McKee’s attorneys at LASPD

again informed Defendants that they must cease their collection actions and cease

communications. Copies of this letter and fax confirmation are attached as Exhibit F.

       15.    Defendants’ collection actions occurred within one year of the date of this

Complaint.

       16.    Defendants’ collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                       COUNT I
                              Violation Of § 1692g(a)(2)
                 Failure To Identify Effectively The Current Creditor

       17.    Plaintiff adopts and realleges ¶¶ 1-16. This allegation is brought solely



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against Defendants LERS and LVNV.

       18.    Section 1692g of the FDCPA requires that, within 5 days of Defendants'

first communication to a consumer, it must provide consumers with an effective

validation notice, containing, among other disclosures, “(2) the name of the creditor to

whom the debt is owed;”, see, 15 U.S.C. § 1692g(a)(2).

       19.    Defendants' June 1, 2010 form collection letter was their first

communication with Ms. McKee; however, it fails to identify effectively the name of the

current creditor, and Defendants did not provide that information within five days of this

initial communication. Defendants' form collection letter thus violates § 1692g(2) of the

FDCPA.

       20.    Defendants LERS’s and LVNV's violation of § 1692g of the FDCPA

renders them liable for statutory damages, costs, and reasonable attorneys’ fees. See,

15 U.S.C. § 1692k.

                                      COUNT II
                       Violation Of § 1692e Of The FDCPA --
                 Making A False Statement Of The Name Of Creditor

       21.    Plaintiff adopts and realleges ¶¶ 1-16. This allegation is brought solely

against Defendants LERS and LVNV.

       22.    Section 1692e of the FDCPA prohibits a debt collector from using any

false, deceptive or misleading representation or means in connection with the collection

of a debt. See, 15 U.S.C. § 1692e.

       23.    Defendants' violation of § 1692e of the FDCPA, includes, but is not limited

to making a false, deceptive or misleading statement as to the name of the creditor to

whom the debt is owed.



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      24.    Defendants LERS’s and LVNV's violation of § 1692e of the FDCPA

renders them liable for statutory damages, costs, and reasonable attorneys’ fees. See,

15 U.S.C. § 1692k.

                                     COUNT III
                     Violation Of § 1692c(c) Of The FDCPA --
            Failure To Cease Communications And Cease Collections

      25.    Plaintiff adopts and realleges ¶¶ 1-16. This allegation is brought solely

against Defendants LVNV and FRS.

      26.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

      27.    Here, the letter from Ms. McKee's agent, LASPD, told Defendants to

cease communications and to cease collections. By continuing to communicate

regarding this debt and demanding payment, Defendants violated § 1692c(c) of the

FDCPA.

      28.    Defendants LVNV’s and FRS’s violation of § 1692c(c) of the FDCPA

renders them liable for statutory damages, costs, and reasonable attorneys’ fees. See,

15 U.S.C. § 1692k.

                                   COUNT IV
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      29.    Plaintiff adopts and realleges ¶¶ 1-16. This allegation is brought solely

against Defendants LVNV and FRS.

      30.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from



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communicating with a consumer if the debt collector knows that the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      31.    Defendants knew, or readily could have known, that Ms. McKee was

represented by counsel in connection with her debts because her attorneys at LASPD

had informed Defendants, in writing, that Ms. McKee was represented by counsel, and

had demanded a cessation of communications with Ms. McKee. By directly sending

Ms. McKee the collection letter, despite being advised that she was represented by

counsel, Defendants violated § 1692c(a)(2) of the FDCPA.

      32.    Defendants LVNV’s and FRS’s violation of § 1692c(a)(2) of the FDCPA

renders them liable for statutory damages, costs, and reasonable attorneys’ fees. See,

15 U.S.C. § 1692k.

                                 PRAYER FOR RELIEF

      Plaintiff, Ollie McKee, prays that this Court:

      1.     Find that Defendants’ debt collection actions violated the FDCPA;

      2.     Enter judgment in favor of Plaintiff McKee, and against Defendants, for

statutory damages, costs, and reasonable attorneys’ fees as provided by § 1692k(a) of

the FDCPA; and,

      3.     Grant such further relief as deemed just.

                                     JURY DEMAND

      Plaintiff, Ollie McKee, demands trial by jury.

                                                 Ollie McKee,

                                                 By: /s/ David J. Philipps___
                                                 One of Plaintiff's Attorneys


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Dated: September 28, 2010


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